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TRACEY CORDES. C|_ERK

UNITED sTATES DISTRICT CoURT BVWE;T§R`Z §l'§l§l§l§? FF§H,G N
WESTERN DISTRICT oF MICHIGAN ~‘L/_ Sca""e‘" l
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UNITED STATES oF AMERICA,

' 1 :1 2-c r-98
Plamtlf£ NO' Robert Ho|mes Be|l
U.S. District Judge

 

vs. Hon.
PABLO RAZO FIERRO,
INDICTMENT
Defendant.
/
The Grand Jury charges:
COUNT 1

(Social Security Fraud)

Beginning on or about September 28, 2004, and continuing without interruption until on
or about January 21, 2011, in Muskegon County, in the Westem District of Michigan, Southem
Division,

PABLO RAZO FIERRO,
in a matter within the jurisdiction of the Social Security Administration, having knowledge of the
Occurrence of an event affecting his continued right to Social Security Disability Benefits
(“DIB”) payments, concealed and failed to disclose such event with the intent fraudulently to
Secure payment when no payment was authorized. Specifically, defendant opened “Pablo’s
Tacos,” a restaurant in Muskegon, Michigan, and returned to work as the owner and operator.
The defendant thereafter concealed his employment from the Social Security Administration in

order to continue to receive and spend DIB payments to which he knew he was not entitled.

42 U.S.C. § 408(3)(4)(1)
42 U.s.C. § 408(b)

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COUNT 2
(Theft of Public Money)

Beginning on or about September 28, 2004, and continuing without interruption until on
or about January 21 , 2011, in Muskegon County, in the Westem District of Michigan, Southern
Division,

PABLO RAZO FIERRO,
did knowingly and intentionally steal, purloin, and convert to his own use money and things of
value of a department of the United States, to witt funds of the Social Security Administration in
excess of $1,000.

18 U.S.C. § 641

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FORFEITURE ALLEGATION
(Count 2 - Theft of Public Money)

The allegations contained in Count 2 of this lndictment are hereby re-alleged and
incorporated by reference for the purpose of alleging forfeitures pursuant to 18 U.S.C. §
981(a)(1)(C) and 28 U.S.C. § 2461(c).

Upon conviction of theft of public money in violation of 18 U.S.C. § 641 set forth in
Count 2 of this lndictment, the defendant,

PABLO RAZO FIERRO,
shall forfeit to the United States of America, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C.
§ 2461(c), any property, real or personal, which constitutes or is derived from proceeds traceable
to the offense. The property to be forfeited includes, but is not limited to, the following:

1. MONEY JUDGMENT: Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
2461(c), a sum of money equal to at least 8104,()69.00, which constitutes or is derived from
proceeds obtained, directly, or indirectly, as a result of the offense charged in Count 2.

2. SUBSTITUTE ASSETS: Pursuant to 21 U.S.C. § 853(p) as incorporated by 28
U.S.C. § 2461(c), the United States shall be entitled to forfeiture of substitute property up to the
value of the above-forfeitable property if, by any act or omission of the defendant, the above-
forfeitable property, or any portion thereof,

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

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e. has been commingled with other property which cannot be divided without

difficulty.
18 U.S.C. § 981(a)(1)(C)
28 U.S.C. § 2461(€)
21 U.S.C. § 853(p)

A TRUE BILL

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GRAND JURY FOREPERSON
DONALD A. DAVIS
United States Attomey

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NlLS R. KESSLER
Assistant United States Attomey

